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VOUCHER NUMBER

 

 

Miley, Gerome
3. MAG. nKT.mEF. NUMBER 4. Dls'r. oi<'r.mEF. NUMBER

2104-020005-001

5. APPEALS DKT.[DEF. NUMBER 6. OTHER DKT. NUMBER

 

 

 

 

 

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T. lN CASE¢'MATTER OF [Case Nlme] S. PAY'MEN T CATEGORY 9. TYPE PERSON RE?RESENTED 10. REP RESENTAT|ON TYPE
_ (See lnstr\icrioils]
U.S. v. Miley Felony Adult Defendant Cri`minal Case
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Suite 850
Memphis TN 38103

Telephone Number: (90 n 543-9799

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Harvle] Law Offlce m ll Si.ihs For PanelAtt.orney l:l Y SllndhyCouns é¢e-r;;€ y-
50 Nol‘[h Fron[ Streel Prior Attorney's Name: <.E>

 

l4. N AME AND MAILING A.DDRESS OF LAW F[RM [nnly provide per lnstrul:tinns)

 

 

 

Appointment Date:

 

D Because the above-named person represented hot teslitied under oath or has `

otherwise satisfied this court tllat he or size . . nmally unable to employ counsel n$§l' " "
(Z';bdn}\].omlrm’vti - " - ' settle terestl ot']listice so require, the , 0
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representation? E YES l:] NO lfyes,give details on additional sheets.
l swear or affirm the truth or correctness ofthe above statements

Sign lure anttorltey:

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Signature of Preslding Judiclll Ot`iieer or l!y Order of the Court /S€§ l
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time of lppointment. l;l YES NO
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15. a. Arralgnment and/or Plea

h. Bail and Detentlon Hearings

o. Motion Hearings
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n d. Trlal
C e. Sentenclng Hearings
3 l. Revocation l-learings
§ g. Appeals Court

h. Other (Speeify on additional sheets)

(Rate per hour = S ) TOTALS:
16. a. Interviews and Conl'erences
l? b. Obtaining and reviewing records
o c. Legal research and brief writing
l`
C d. Travel time
3 e. Investlgative and Other work ¢sp¢¢iry nn manion-ii mem
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t (Rate per hour = $ ) TOTALS:
17. 'l`ravel Expenses (lndging, parking meals, mileage. ete.)
13. Other Expenses (otller then expert, transcripts, etc.)
19. CERTIFICAT|ON OF ATTORNEY:'PAYEE FOR THE PERlOD 0 F SERV]CE 20. APPO|NTMENT TERM|NAT|C|N DATE Zl. CASE DISPO SITION
[l" DTHER THAN CASE COMPLET|ON
FROM ”DO
22. CLA.IM STATUS ij l~`lnel Poyment D lnterim Payment Nlirnlier ___ I] Supplementlll hyman
Illve you previously applied to the court ltv compensation and/or remimhursement for this esse'.’ i:] YES m NO if yes. were you plld'.’ \:\ YES |:\ NO

Other than l'rom the eourt, have you, or to your knowledge has anyone else received payment (eompensation or anything or vslue) from any other source la connection with this

 

 

 

23. lN COURT COMP. 14. OUT OF COURT COMP.

 

25. 'I`R.AVEL EXPENSES

 

26. OTHER EXPENSES 27. TOTAL AMT. APPR f CERT

 

28. SlGNATURE OF THE PRESIDING JUDlClAL OFFICER

DATE. lh. .lllDCEl MAG. .lUDGE CODE`.

 

29. IN COUR'|` COM P. 30. OUT OF COURT COMP. 3].

 

 

TRAVEL EXPENSES

31. OTHl-IR EXPF.NSF.S 33. TOTAL AMT. APPROVI~;D

 

approved' in excess oflhe statutory threshold amount

 

34. SiGNATURE OF CHIEF JUDGE, COURT OF APP EALS (OR DELEGATE) P\;,menr

DATE 341. JUDCECODE

 

 

 

 

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oF TENNESSEE

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Honorable Samuel Mays
US DISTRICT COURT

